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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                             FT. WORTH DIVISION


ROBERT (BOB) ROSS                         §
Plaintiff,                                §
                                          §
                                          §
                                          §
                                          §
                                          §      Case No. 4:22-CV-00343
                                          §
V.                                        §
                                          §
ASSOCIATION OF PROFESSIONAL               §
FLIGHT ATTENDANTS,                        §
MCGAUGHEY, REBER AND                      §
ASSOCIATES, INC., JULIE                   §
HEDRICK, ERIK HARRIS                      §
Plaintiff/Counter-Defendants.             §

     COUNTER-DEFENDANT ROBERT ROSS’S ANSWER TO PLAINTIFF’S
                    COUNTER COMPLAINT

      NOW COMES, Plaintiff/Counter-Defendant, Robert (Bob) Ross, (hereinafter

“Plaintiff”)) in the above-entitled and numbered cause, hereby appears and files in

this Original Answer, and shows the Court:

                                 GENERAL DENIAL


      Plaintiff exercises his rights under Fed. R. Civ. Proc. 8(b)(3) of the law to file

a general denial and require Defendant/Counter-Plaintiff, APFA (hereinafter

Defendant) to prove its causes of action by clear and convincing evidence. Plaintiff

therefore generally denies each and every, all and singular, the allegations

contained in Defendant’s Counter-Claims and all subsequent counter-claims and




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amendments thereto, and requires Defendant to prove its cause of action before

the Court, if Defendant can do so.


                               SPECIFIC DENIAL


      Pursuant to Fed. R. Civ. P. 8(b)(4), Plaintiff/Counter-Defendant denies all

conditions precedent to the maintenance of Plaintiff’s causes of action have

occurred or been performed.

      As to Paragraph 22, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 23, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 24, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 25, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 26, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 27, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 28, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.




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      As to Paragraph 29, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 30, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 31, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 32, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 33, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 34, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 35, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 36, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.

      As to Paragraph 37, Plaintiff specifically denies all statements of facts and

presumptions of law contained herein.



                   AFFIRMATIVE AND OTHER DEFENSES


   Plaintiff asserts the following affirmative defenses and other defenses which,

separately or in combination, would bar Defendant’s right to recover, in whole or


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in part, the damages alleged in Defendant’s Counter-claims pursuant to Federal

Rule of Civil Procedure 8(c):


   1. Defendant failed to state a claim against Plaintiff on which relief could be

      granted.

   2. Defendant’s claims are barred in whole or in part by payment, offset, and/or

      credit.

   3. Defendant’s claims are barred by the statute of limitations.

   4. Additionally and/or in the alternative, and without waiving the foregoing

      and/or admitting any liability, Plaintiff asserts the affirmative defense of

      accord and satisfaction.

   5. Additionally and/or in the alternative, and without waiving the foregoing

      and/or admitting any liability, Defendant asserts the affirmative defense of

      fraud.

   6. Additionally and/or in the alternative, and without waiving the foregoing

      and/or admitting any liability, Defendant’s recovery should be denied

      because Defendant does not have standing to bring this action.

   7. Additionally and/or in the alternative, and without waiving the foregoing, if

      Defendant has suffered damages, which Plaintiff denies, it has failed to

      mitigate said damages.

   8. Plaintiff asserts the affirmative defense of estoppel.

   9. Plaintiff asserts the affirmative defense of laches.

   10. Additionally and/or in the alternative, and without waiving the foregoing,


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     Defendant’s claims are barred, in whole or in part by the doctrine of unclean

     hands.

  11. Plaintiff hereby gives notice that Plaintiff intends to rely upon such other

     defenses, denials, or cross and/or counter actions as may become available

     or known through discovery, investigation or otherwise, and hereby reserves

     the right to amend Plaintiff Answer to assert such matters.

                           CONCLUSION AND PRAYER


               WHEREFORE, PREMISES CONSIDERED, Plaintiff

hereby prays as follows:

     1.           For judgment of the Court that Plaintiff take nothing by these

                  counter-claims, and that Plaintiff recover all costs of court;

     2.           That Plaintiff recover a judgment against Defendant, for court

                  costs and all attorney’s fees incurred in this counter-claim, and

                  reasonable attorney’s fees in the event of an appeal to the Texas

                  Court of Appeals and reasonable attorney’s fees in the event of

                  an Appeal to the Texas Supreme Court; and

     3.            Such other and further relief, at law or in equity, to which

                  Plaintiff may be justly entitled to receive.




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                                     Respectfully submitted,
                                     K.D. PHILLIPS LAW FIRM, PLLC


                                     By: /s/ Kerri Phillips
                                          Kerri Phillips
                                          Texas Bar No. 24065906
                                          Phone: (940) 757-0333
                                          Email: kerri@kdphillipslaw.com

                                          /s/ Heather Abreu
                                          Heather Abeu
                                          Texas Bar No. 24122577
                                          Phone: (940) 757-0333
                                          Email: heather@kdphillipslaw.com


                                          5700 Tennyson Parkway, Suite 300
                                          Plano, Texas 75024
                                          Fax: (940) 400-0089
                                          For Service of Filings:
                                          notice@kdphillipslaw.com



                                          ATTORNEY FOR
                                          PLAINTIFF/COUNTER-DEFENDANT




                          CERTIFICATE OF SERVICE

      I certify that on June 6, 2022 a true and correct copy of the foregoing
instrument was served upon Plaintiff’s attorney via e-filing manager and via email
to .


                                        /S/ Kerri Phillips
                                     Kerri Phillips




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